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 5

 6 Attorneys for UNITED STATES OF AMERICA

 7

 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                   CASE NO. 2:10-cr-00191 JAM
12                                         Plaintiff,            STIPULATION TO SET
                                                                 JUDGMENT AND SENTENCING
13   v.                                                          AND TO REFER THE MATTER TO
                                                                 THE PROBATION OFFICE FOR
14   DARRIN JOHNSTON, and                                        PREPARATION OF A
     TODD SMITH,                                                 PRESENTENCE INVESTIGATION
15                                                               REPORT; ORDER
                                           Defendants.
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18             Counsel for the United States has conferred with counsel for the defendants Darrin Johnston

19 and Todd Smith, and the parties hereby stipulate and request the following:

20             1.        This case be referred to the Probation Office for preparation of a presentence

21 investigation report, and

22             2.        The date for the judgment and sentencing be set on the Court’s calendar on October 1,

23 2013 at 9:45 a.m., or as soon thereafter as this matter may be heard, with the schedule for disclosures

24 and preparation of the presentence investigation report be set in accordance with this date.

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                                                             1
          Stipulation re Judgment and Sentencing; Proposed
          Order
              Case 2:10-cr-00191-JAM Document 134 Filed 06/27/13 Page 2 of 2



 1          IT IS SO STIPULATED.

 2 DATED: June 26, 2013                                             BENJAMIN B. WAGNER
                                                                    United States Attorney
 3
                                                          By:       /s/ Todd A. Pickles
 4                                                                  TODD A. PICKLES
                                                                    Assistant U.S. Attorney
 5

 6 DATED: June 26, 2013                                   By:       /s/ Todd A. Pickles for
                                                                    MICHAEL LONG
 7
                                                                    Attorney for Darrin Johnston
 8

 9 DATED: June 26, 2013                                   By:       /s/ Todd A. Pickles for
                                                                    BRUCE LOCKE
10
                                                                    Attorney for Todd Smith
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13                                                        ORDER

14          This matter came before the Court on the parties’ stipulation to set this matter for judgment

15 and sentencing and to refer the matter to the probation officer. For good cause showing, the Court

16 hereby adopts the parties’ stipulation. Accordingly, IT IS HEREBY ORDERED THAT:

17          1.        This case is referred to the Probation Office for preparation of a presentence

18 investigation report; and

19          2.        Judgment and sentencing is set on the Court’s calendar on October 1, 2013 at 9:45

20 a.m. The Court shall separately issue a schedule for disclosures and preparation for the

21 presentencing investigation report.

22          IT IS SO ORDERED.

23 DATED: 6/26/2013

24
                                                                    /s/ John A. Mendez________
25                                                                  Hon. John A. Mendez
                                                                    United States District Judge
26                                                                  Eastern District of California
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       Stipulation re Judgment and Sentencing; Proposed
       Order
